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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                        Index Number: 22-cr-00673-LAK
                       -v-
                                                         NOTICE OF APPEARANCE
 RYAN SALAME,

                                     Defendant.


       PLEASE TAKE NOTICE that Douglas E. Grover, of the law firm Schlam Stone &

Dolan LLP, is appearing in this action as counsel for Defendant Ryan Salame. Please take further

notice that all papers and correspondence in this proceeding should be directed to the

undersigned counsel at the address and email address below.



Dated: September 25, 2024
       New York, New York
                                                      Respectfully submitted,


                                                     SCHLAM STONE & DOLAN LLP

                                             By:      /s/ Douglas E. Grover
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TO:    All Counsel of Record (By ECF Filing)
